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                                                         Exhibit A to the Complaint
Location: San Jose, CA                                                                             IP Address: 73.202.83.113
Total Works Infringed: 35                                                                          ISP: Comcast Cable
 Work      Hashes                                                               UTC        Site           Published     Registered   Registration
 1         Info Hash:                                                           02-19-     Blacked        01-02-2020    02-04-2020   PA0002225581
           BAB6EB6DA296A31AF623DB7A9EF885CCD7C0DB5D                             2022       Raw
           File Hash:                                                           11:25:55
           C063254D50186F2088DAE501466E95E9A0E26A2243F649F67F8443EA45B5CDF5
 2         Info Hash:                                                           02-18-     Vixen          12-30-2017    01-15-2018   PA0002070944
           80F4781860CA14A36CFF0ED5574EB7817FDE4D80                             2022
           File Hash:                                                           22:24:13
           FA941BFA59F138EC3352364DCFE60E53882E4C160B135AC3576A3D7585904F9F
 3         Info Hash:                                                           02-18-     Blacked        07-01-2019    07-17-2019   PA0002188302
           4E9DC5664C79C201A2EA19FB2A7F778E148DB0AA                             2022       Raw
           File Hash:                                                           22:11:35
           73B715F6AC7F506A697AB7F43FE9BF94A157FCB2D43B47BF7A397FD3CA85AD99
 4         Info Hash:                                                           02-18-     Blacked        12-06-2019    12-17-2019   PA0002217665
           86804856761D83AD88F3D60A55538FD4C54CCAF9                             2022
           File Hash:                                                           21:46:03
           A0E0110717861537BA4980ACEF88256134D2FB1A710EA7331055A765A08959FD
 5         Info Hash:                                                           01-28-     Blacked        03-27-2021    04-27-2021   PA0002288945
           C3FB7277333208A9A5A6875DFC848D49EBF63316                             2022
           File Hash:                                                           21:54:08
           62B9ECD5B5E4215A3A277FABECFAD4106237E5194C3DC0491B94AF579227FACE
 6         Info Hash:                                                           01-28-     Tushy          02-21-2021    03-08-2021   PA0002280370
           7BF81F64765F29E4422A43F4A24C7785E7FBB612                             2022
           File Hash:                                                           21:20:14
           670F9C3A0C7F206BF7AA56F3C977AA5B9E37A6EBED8DCBA9A06ED2BDC1085A27
 7         Info Hash:                                                           01-28-     Tushy          09-14-2020    09-29-2020   PA0002258682
           3191681C58BD7644E78F6498C50CEE6B723C5171                             2022
           File Hash:                                                           21:11:19
           7273028B35C11CBC3E3D63D233DBC281A469C7D11FDC41F8B4EA97149838ECD5
 8         Info Hash:                                                           01-28-     Blacked        06-26-2021    07-08-2021   PA0002300662
           6D40E6B3C68E4347A8776C49A5F33AED77C35A3C                             2022
           File Hash:                                                           21:10:00
           23CEF8CDE126E624213A1BBC3AEC0ED99E29DC5FCEECCC7F6D3EC3C7F4E9CF6E
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         01-28-     Blacked   12-21-2020   01-05-2021   PA0002269958
       08E4516F2B10B7116E9DFDC23BAD089C16D51A99                           2022       Raw
       File Hash:                                                         21:08:17
       59CC496DF2C8E95867635AE3E980F1431D87E8711786E031BF179B341324DF38
10     Info Hash:                                                         01-28-     Vixen     04-23-2021   04-27-2021   PA0002288949
       EAFFC4AF758749CA06B41D83162652ECC6AD6085                           2022
       File Hash:                                                         21:08:17
       FB353E4A109C89425834A36C41FCB0BFBBB32F67D9AD8E1B6F619A1E7A099F56
11     Info Hash:                                                         01-28-     Blacked   05-31-2021   06-15-2021   PA0002296925
       8EE948443FBE7B902CACD7BECB7FEF16C06E5747                           2022       Raw
       File Hash:                                                         21:00:49
       15E258694DED57BC6C45BCE2EE94A799DB8994134024375CAFCCBC3B9C4ED9B4
12     Info Hash:                                                         01-24-     Blacked   05-22-2021   06-09-2021   PA0002295591
       43E61D45E9E5B6B9B2682900678C8B7AC0EC7F0F                           2022
       File Hash:                                                         09:15:42
       28B1CD07F1186F2C2F13FF5C2CEA5E6164DFE9C7EA8F4B540354CB6964AC73F3
13     Info Hash:                                                         01-24-     Vixen     12-17-2021   01-17-2022   PA0002330110
       486C0CB4CFC2FEC6B58CC1F673FA1886F224BADE                           2022
       File Hash:                                                         09:13:30
       B71CB4BC46EB59A07369C0D264714987B2C22CE49EA67FAB5FFEF73F10D993BD
14     Info Hash:                                                         01-24-     Blacked   08-30-2021   09-30-2021   PA0002319882
       70535E9E0E92734658E621BFAE369A6057364ECC                           2022       Raw
       File Hash:                                                         09:13:07
       7F65E85969993002150C75C05AD7D4690560C8695A6A06B0755CE3C493208FA6
15     Info Hash:                                                         01-14-     Blacked   09-04-2021   09-21-2021   PA0002312679
       27F711CD1E984692EFDAC08F768C0A058D9863BE                           2022
       File Hash:                                                         19:01:17
       F0E7F2B2D51DFA0C4376CD8AF9101332172F54BC9879EEE817641C784863E199
16     Info Hash:                                                         01-11-     Blacked   03-15-2020   04-15-2020   PA0002246109
       6925967B48B6F7E696BF1524724AFFDCFEBAEBC5                           2022
       File Hash:                                                         00:11:50
       4C2E8EFCDCBF178E0B24C671B8193416C6269EA73D8C495C291BA3F911AB4C6F
17     Info Hash:                                                         01-10-     Tushy     03-07-2021   03-22-2021   PA0002282503
       67D40AB4E208DB4E99A083392382522BE587F864                           2022
       File Hash:                                                         07:04:13
       3E37721CEB04B78A720D43F2F2BF1EC62B7AB0F85DFD1884A5ADC0FA51085B69
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         01-04-     Tushy     07-30-2018   09-01-2018   PA0002119590
       42FB29936F0773461AB894640E5895EE9B843742                           2022
       File Hash:                                                         01:24:42
       EF61072101211DEFAC88A911C5D3CFEA3D73C0C57674E9D0614DF3ED55DCA07E
19     Info Hash:                                                         12-20-     Blacked   10-27-2018   12-10-2018   PA0002145828
       4A3136B25E195764C6A5BFB40F2A05BF4D67FC78                           2021
       File Hash:                                                         22:30:20
       6795789E04678B20D40454D7E8A982DB17E652E8CAF50F29E036AA400E5CC327
20     Info Hash:                                                         12-01-     Blacked   11-13-2021   12-09-2021   PA0002325812
       FA00972FAE0D641E011A852D56700CB93E15CA11                           2021
       File Hash:                                                         23:22:22
       DE5FCB22DB4C79AD30C2417B0C9DB5C24F29C1D73E2A00DA0BF83D00CFE886E8
21     Info Hash:                                                         11-19-     Blacked   08-07-2021   08-23-2021   PA0002308431
       22BB06A7B917E23F7DD4C86EE71A1D96A43D2573                           2021
       File Hash:                                                         19:56:11
       F3AA21B888026133F6222373DA65B762814D9FADAEDCC05B4AD954FE1666E072
22     Info Hash:                                                         10-09-     Blacked   11-02-2020   11-24-2020   PA0002265968
       0A699E8DDCF38F52A506691FA48FF66EA86A15B4                           2021       Raw
       File Hash:                                                         01:52:13
       45A5C9627F189D2582974B07D3278C696CDE2303599C7BBE1BDECE8D3AA56564
23     Info Hash:                                                         10-05-     Tushy     09-05-2021   09-21-2021   PA0002312671
       FD6024BEF3762A73A62D6ED2A0473D9631E4AB2D                           2021
       File Hash:                                                         23:18:23
       E4527D72B244EF3581F2F345D213ED85995D3CA3AEB835822E61F2E526A69B46
24     Info Hash:                                                         09-28-     Blacked   06-29-2020   07-17-2020   PA0002248598
       14AB1F3D09A7FD1F5B4014B7D932F7FAC768DEC8                           2021       Raw
       File Hash:                                                         20:07:09
       6D76F838EB0CC3D4537F6D58B82C60D51A6778E781AEB91C4B2B2FBE14F56B3A
25     Info Hash:                                                         09-23-     Blacked   09-18-2021   10-05-2021   PA0002315291
       136FA3183285251BC43A2098FABFB51A9938461A                           2021
       File Hash:                                                         08:25:54
       A0015BFEF43C7B8DE83CED9F631781A7446B813F5BF0FB32323FADC3AB61D106
26     Info Hash:                                                         09-02-     Tushy     05-16-2021   06-09-2021   PA0002295592
       2E488D2530B78399628D50E819179A23693E120A                           2021
       File Hash:                                                         22:53:15
       7B75D65C107E15B751BDD24B4FC32F760B3E817F58BFB088434E7A96317F91ED
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         08-22-     Blacked   06-14-2021   08-02-2021   PA0002305094
       32EAB20A9B2E50DC4BF56C17FE55379EAC2D35A4                           2021       Raw
       File Hash:                                                         20:01:36
       332F47B8AE1F4C7DDDC90D81EDD3A996200C8249BC701F239B99D44E85F89892
28     Info Hash:                                                         08-10-     Vixen     10-01-2018   11-01-2018   PA0002143421
       D4BB512F8C0AE6A2925772036D1AD41CDC088861                           2021
       File Hash:                                                         04:09:34
       27843D27F39A962E663A89A982202CEAA6BDF03320DCF9B043676AD2E93B3FC1
29     Info Hash:                                                         06-09-     Vixen     09-11-2017   09-15-2017   PA0002052839
       A2C87322636F63116A37FF787A2288CF1B784CC7                           2021
       File Hash:                                                         18:27:18
       CA921B228BDB86F1040FE49639A94562431C73A8FB0CD92353FDC1A12D506758
30     Info Hash:                                                         06-09-     Blacked   08-23-2017   10-10-2017   PA0002086163
       1525672E90493326CE884D0054D9B81C2026954C                           2021
       File Hash:                                                         18:25:04
       F29BB6B9B8051B324AD829D0493A837667EC77CB27D3E7DBC235A4CC0B8BEE60
31     Info Hash:                                                         06-09-     Blacked   09-17-2019   09-25-2019   PA0002203161
       75AAFCC83F053540C564E26015234507AD59D40E                           2021
       File Hash:                                                         06:01:40
       31D0D3686F31F8D213A5D9C8B5727BCE8463A4B28685D2EB05DD71F82B5B2DF4
32     Info Hash:                                                         05-14-     Blacked   10-22-2019   11-05-2019   PA0002210294
       4CBADD45F5F7459BB9B9FC1A3C576D32207E3F0C                           2021
       File Hash:                                                         19:16:05
       9FF9F37DE6ECA120598CCB15E9BD3C091C3019583DDA3A85E01D6632170A5285
33     Info Hash:                                                         02-02-     Blacked   08-03-2019   09-10-2019   PA0002199412
       998D889AC133E44A451ADAA9C89CE64C3514FBE5                           2021
       File Hash:                                                         23:03:29
       2F74CC0A9BF6B310FD57C4A213A195D653A4A6DC6AD050D61903295596AD7358
34     Info Hash:                                                         10-02-     Blacked   03-06-2019   03-31-2019   PA0002163978
       DBD37806A272E34CF33F9EDAF8BDA6391FF8F7C0                           2020
       File Hash:                                                         22:03:50
       F2CEB31D14663B616FB0063A1420032068528AEF8F9AE4958BFC424F952510D1
35     Info Hash:                                                         09-25-     Blacked   01-10-2019   02-02-2019   PA0002155382
       AA9D6ED52E9FECEA19124A8F7FE433617F801994                           2020
       File Hash:                                                         21:41:04
       3A24DE8F7A7AF1CE8D0BF9896895AC6606FE5CCF057E77AF300CFA9F83F06ACB
